          Case 5:18-cv-00555-XR Document 151 Filed 10/17/19 Page 1 of 2




                   I N T H E UN IT E D S T A T E S D I S T R I C T C O U R T
                      F O R T H E W E S T E R N D I S T RI C T O F T E X A S
                                SAN ANTON IO D IV IS ION

 J OE HO LC OM BE, et. al,                    §         NO. 5: 18 -C V-00555 -XR
                                              §
 Plaintiffs                                   §   Consolidated with:
                                              §   5:18-cv-00712-XR (Vidal)
                                              §   5:18-cv-00881-XR (Uhl)
 vs.                                          §   5:18-cv-00944-XR (Ramsey)
                                              §   5:18-cv-00949-XR (McNulty)
 UN ITED S TATES O F                          §   5:18-cv-00951-XR (Wall)
 AM ER IC A,                                  §   5:18-cv-01151-XR (Amador)
                                              §   5:19-cv-00184-XR (Brown)
 Defendant                                    §   5:19-cv-00289-XR (Ward)
                                              §   5:19-cv-00506-XR (Workman)
                                              §   5:19-cv-00678-XR (Colbath)
                                              §   5:19-cv-00691-XR (Braden)
                                              §   5:19-cv-00706-XR (Lookingbill)
                                              §   5:19-cv-00714-XR (Solis)
                                              §   5:19-cv-00715-XR (McKenzie)
                                              §   5:19-cv-00805-XR (Curnow)
                                              §   5:19-cv-00705-XR (Workman)
                                              §   5:19-cv-00806-XR (Macias)

                                              ORDER

       The Court, having considered Defendant’s Motion to Designate Responsible Third

Parties and finding it well taken, finds Defendant’s Motion should be, and is hereby GRANTED.

The United States is hereby granted leave to designate Devin Patrick Kelley, Academy, Ltd.,

d/b/a Academy Sports & Outdoors (“Academy”), and John Does Nos. 1–10, a person or persons

unknown who may have conspired with Kelley to commit the criminal act that was the cause of

the injuries that are the subject of the lawsuit, as responsible third parties pursuant to Tex. Civ.

Prac. & Rem. Code § 33.004.
       Case 5:18-cv-00555-XR Document 151 Filed 10/17/19 Page 2 of 2




SIGNED AND ENTERED THIS _____ DAY OF ____________, 2019.



                                  ______________________________________
                                  THE HONORABLE XAVIER RODRIGUEZ
                                  UNITED STATES DISTRICT JUDGE
